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 3
 4                       UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF CALIFORNIA
 6   MICHELLE RIVAS AND THOMAS KASCHAK,        1:08-CV-00942 OWW SMS
 7   et al.,
                                               MEMORANDUM DECISION RE:
 8                           Plaintiffs,       DEFENDANTS’ MOTION TO
                                               DISMISS.
 9                      v.

10   CALIFORNIA FRANCHISE TAX BOARD, et
     al.,
11                           Defendants.
12
13
                                I.   INTRODUCTION
14
          This case arises out of a February 23, 2006 search of
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     Plaintiffs’ Michelle Rivas’ (“Rivas”) and Thomas Kaschak’s
16
     (“Kaschak”) residence, conducted by California Franchise tax
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     Board (“FTB”) agents on February 23, 2006, and Kaschak’s January
18
     9, 2007 arrest on charges of tax evasion.        Plaintiffs allege that
19
     Defendants FTB, John Chiang, the California State Controller and
20
     Chairman of the FTB, and Slue Railsback, a FTB Senior Special
21
     Agent, are liable for damages under 42 U.S.C. § 1983 for
22
     violating Plaintiffs’ constitutional rights and under state law
23
     for causing them emotional distress.       (Doc. 1, Compl., filed July
24
     2, 2008.)
25
          Defendants move to dismiss the allegations, arguing: (1) the
26
     two-year statute of limitations for claims brought under section
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     1983 has passed; (2) Plaintiffs’ first cause of action alleging
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 1   that Defendants violated their Fourteenth Amendment rights by
 2   misrepresenting evidence to prosecutors resulting in Kaschak’s
 3   wrongful arrest and prosecution does not state a claim upon which
 4   relief may be granted; (3) Eleventh Amendment immunity bars
 5   Plaintiffs’ claims against Defendants Chiang and Railsback in
 6   their official capacities; (4) Plaintiffs’ claims against Chiang
 7   in his individual capacity are not cognizable; and (5)
 8   Plaintiffs’ state law claims must be dismissed because Plaintiffs
 9   failed to comply with California’s tort claim presentation
10   procedure.   (Doc. 13-2 at 2, filed Sept. 8, 2008).)
11   Alternatively, Defendants maintain that any claims that survive
12   the motion to dismiss should be stayed pending resolution of the
13   pending criminal proceedings against Kaschak.        (Id. at 3.)
14         Plaintiffs oppose dismissal, arguing: (1) the discovery
15   rule requires tolling of the section 1983 statute of limitations;
16   (2) the first cause of action alleges sufficient facts to sustain
17   a claim for pretrial deprivation of liberty; (3) the Complaint
18   properly alleges a 1983 claim against Chiang in his individual
19   capacity; and (4) non-compliance with California’s tort claim
20   presentation procedure does not require dismissal.         (Doc. 17 at
21   2-3, filed Nov. 6, 2008.)
22
23                               II.   BACKGROUND
24        Plaintiffs allege that on February 23, 2006, in the early
25   morning hours, approximately 20 FTB agents “stormed” Plaintiffs’
26   residence at 2400 Van Pelt, in Modesto, California, pursuant to a
27   search warrant that was “obtained under false pretenses,” based
28   in part on false allegations that Kaschak evaded his tax

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 1   obligations to the State of California.       (Compl. ¶¶ 8-9.)
 2        During the course of the search, the Complaint alleges that
 3   Plaintiffs were “held for several hours, denied use of their
 4   telephone or contact with any attorney or counsel, denied use of
 5   the washroom, and denied basic food and water.”         (Id. at ¶10.)
 6        Prior to the search, Kaschak, who is an orthopedic trauma
 7   surgeon, had been on call in the emergency room for eight
 8   consecutive days, with little or no sleep.        (Id. at ¶11.)    He
 9   allegedly informed the FTB agents that he was sleep deprived.
10   (Id. at ¶12.)   The Complaint allege that, despite Kaschak’s state
11   of sleep deprivation, FTB agents “interrogat[ed]” Kaschak and
12   Rivas for over two hours.     (Id.)     Allegedly, Kaschak requested
13   permission to contact an attorney, but FTB agents denied this
14   request.   (Id.)   FTB agents did not inform Plaintiffs of the
15   subject or nature of their search, nor of the accusations against
16   them, despite Plaintiffs’ “repeated requests for such
17   information.”   (Id. at ¶13.)
18        On January 9, 2007, Kaschak was arrested by FTB agents and
19   charged with multiple felony counts of tax evasion for alleged
20   failure to file state income tax returns for the years 2000-2004.
21   (Id. at ¶14.)   At the time of his arrest, Kaschak allegedly
22   inquired as to the charges against him, but the arresting agents
23   claimed to have no knowledge of the charges.        (Id. at ¶15.)
24        Kaschak later learned that FTB had issued a press release
25   earlier that day, detailing the charges against him.          (Id.)      The
26   bail request filed by FTB also outlined the charges.          (Id.)      Bail
27   was set at $250,000.    (Id. at ¶16.)
28        Kaschak’s arrest concluded a four and a half year

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 1   investigation by the FTB.     (Id. at ¶17.)     Plaintiffs allege that
 2   at no point during that investigation, until service of the
 3   search warrant on February 23, 2006, were Plaintiffs notified of
 4   the nature of the investigation, nor of any tax liability for the
 5   years in question.    (Id.)
 6        Prior to his arrest, Kaschak attempted to satisfy his tax
 7   liability with the FTB.     (Id. at ¶19.)    Railsback allegedly
 8   responded to Kaschak’s inquiry in a May 3, 2006 letter, stating
 9   that she had never solicited any tax payments from Kaschak and
10   had no intention of doing so.      (Id.)    Plaintiffs assert that this
11   violates FTB procedures, which provide that “it is the
12   responsibility of []FTB representatives to...[m]ake every
13   reasonable attempt to resolve the collection issues with the
14   designated representative.”     (Id. at ¶19.)
15        Plaintiffs allege that the investigation report prepared by
16   Railsback, which led to the arrest of Kaschak, contains “lies,
17   material omissions, and/or misleading statements.”         (Id. at ¶18.)
18        Plaintiffs’ First Cause of Action, for “Denial of Due
19   Process Under 42 U.S.C. § 1983,” alleges Defendants conspired to
20   (a) deny Plaintiffs their right to counsel during the
21   “interrogation,” (b) write false complaints, (c) misinform
22   prosecutors of the bases for charges against Kaschak, (d)
23   institute criminal proceedings against him without lawful bases,
24   and (e) prosecute him without required notices and/or statements
25   of tax deficiency.    (Id. ¶¶ 23-32.)      The Second Cause of Action
26   alleges that FTB agents used excessive force when they (a)
27   searched Plaintiffs’ residence on February 23, 2006, and (b)
28   affected Kaschak’s arrest on January 9, 2007.        (Id. at ¶¶ 33-41.)

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 1   The Complaint also contains state law causes of action for
 2   Negligent (Third Cause of Action) and Intentional (Fourth Cause
 3   of Action) Infliction of Emotional Distress, as well as a
 4   Conspiracy claim (Fifth Cause of Action).
 5
 6                        III.   STANDARD OF DECISION
 7        Federal Rule of Civil Procedure 12(b)(6) provides that a
 8   motion to dismiss may be made if the plaintiff fails “to state a
 9   claim upon which relief can be granted.”        In deciding whether to
10   grant a motion to dismiss, the court “accept[s] all factual
11   allegations of the complaint as true and draw[s] all reasonable
12   inferences” in the light most favorable to the nonmoving party.
13   TwoRivers v. Lewis, 174 F.3d 987, 991 (9th Cir. 1999); see also
14   Rodriguez v. Panayiotou, 314 F.3d 979, 983 (9th Cir. 2002).
15   “To avoid a Rule(b)(6) dismissal, a complaint need not contain
16   detailed factual allegations; rather, it must plead ‘enough facts
17   to state a claim to relief that is plausible on its face.’”
18   Weber v. Dept. of Veterans Affairs, 521 F.3d 1061 (9th Cir. 2008)
19   (citing Bell Atlantic v. Twombly, 127 S. Ct 1955, 1974 (2007)
20   (rejecting interpretation of Rule 8 that permits dismissal only
21   when plaintiff can prove “no set of facts” in support of his
22   claim).   A court is not “required to accept as true allegations
23   that are merely conclusory, unwarranted deductions of fact, or
24   unreasonable inferences.”     Sprewell v. Golden State Warriors, 266
25   F.3d 979, 988 (9th Cir. 2001).1
26
          1
27             Plaintiffs incorrectly assert that motions to dismiss
     should be granted only in “extraordinary cases,” citing Barker v.
28   United States, 903 F. Supp. 31, 32 (S.D. Cal. 1995). Barker

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 1        The defendant bears the initial burden of demonstrating that
 2   the statute of limitations has run in 1983 cases.         Cooey v.
 3   Strickland, 479 F.3d 412 (6th Cir. 2007).        If the complaint
 4   pleads facts that show a suit is time-barred, dismissal may be
 5   appropriate, unless the statute of limitations can be tolled.
 6   See Fink v. Shedler, 192 F.3d 911, 914 (9th Cir. 1999).
 7   Plaintiff bears the burden of establishing the applicability of
 8   tolling doctrines.     Hinton v. Pac. Enter., 5 F.3d 391, 395 (9th
 9   Cir. 1993).
10
11                               IV.   DISCUSSION
12        A.   Motion to Dismiss.
13             1.    Statute of Limitations.
14        A two year statute of limitations applies to Plaintiffs’
15   section 1983 claims.     Maldonado v. Harris, 370 F.3d 945, 954 (9th
16   Cir. 2004 (applicable statute of limitations for § 1983 actions
17   is drawn from forums state’s limitations period for personal
18   injury actions; in California, a two year limitations period was
19   made effective as of January 1, 2003).       The accrual date of a
20   section 1983 cause of action is a question of federal law.
21   Wallace v. Kato, 127 S. Ct. 1091, 1095 (2007).         The standard rule
22   is that accrual occurs “when the plaintiff has a complete and
23   present cause of action, that is, when the plaintiff can file
24   suit and obtain relief.”     Id. (internal citations and quotations
25
26   relied on Ninth Circuit cases applying the “no set of facts”
27   formulation, e.g., Balistreri v. Pacifica Police Dept., 901 F.2d
     696, 699 (9th Cir. 1990), that was explicitly rejected by the
28   Supreme Court in Twombly, 127 S. Ct. at 1969-70.

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 1   omitted).
 2        Defendants argue that to the extent Plaintiffs’ First and
 3   Second Causes of Action arise out of the February 23, 2006 search
 4   of Plaintiffs’ residence, the applicable accrual date was
 5   February 23, 2006, the date of the search, more than two years
 6   before the filing of the complaint on July 2, 2008.         (Doc. 13-2
 7   at 5.)
 8        The First Cause of Action contains a mixture of allegations:
 9                           FIRST CAUSE OF ACTION
                 DENIAL OF DUE PROCESS UNDER 42 U.S.C. § 1983
10
                                        ***
11
                 24) Under 42 U.S.C. § 1983, a person who, acting under
12               color of state law, deprives another person of his
                 federal constitutional rights is liable to the injured
13               party.
14               25) The Fourteenth Amendment to the United States
                 Constitution, enforceable pursuant to 42 U.S.C. § 1983,
15               provides that no state shall deprive any person of
                 life, liberty, or property, without due process of law.
16
                 26) The individual Defendants’ conduct as alleged
17               herein violated Plaintiffs’ rights to due process.
18               27) Defendants’ conspired, each of them and amongst
                 themselves, to write false complaints and to misinform
19               prosecutors of the basis for charges against Plaintiff
                 Thomas. In so doing, Defendants instituted criminal
20               proceedings against Plaintiff Thomas without a lawful
                 basis, in violation of Thomas’ due process rights.
21
                 28) Defendants conspired, each of them and amongst
22               themselves, to create circumstances to construct allege
                 criminal conduct in furtherance of its goal to
23               prosecute Thomas, all in violation of Thomas’ due
                 process rights and the CAFTB’s own Franchise Tax Board
24               Collection Procedures Manual, wherein Defendant’s [sic]
                 did not provide Thomas with the required notices and/or
25               statements of tax deficiency, as alleged herein.
26               29) Defendants conspired, each of them and amongst
                 themselves, to deny Thomas and Michelle their right to
27               counsel during their interrogation on February 23,
                 2006, despite Plaintiffs’ repeated requests for same.
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 1                30) The rights of Plaintiffs that Defendants have
                  violated are clearly established statutory or
 2                constitutional rights of which a reasonable person
                  would have known.
 3                                     ***
 4   (Id. at ¶¶ 24-30.)       The First Cause of Action does not allege
 5   that an unlawful search took place, per se.           Rather, the only
 6   allegation arising directly out of the search is that Defendants
 7   denied Plaintiffs their right to counsel during the
 8   “interrogation.”        (Id. at ¶29.)
 9           The Second Cause of Action, alleges, among other things that
10   FTB agents used excessive force when they searched Plaintiffs’
11   residence on February 23, 2006, by (a) storming the residence
12   with guns drawn without basis, (b) interrogated Plaintiffs for
13   hours, unlawfully restricting Plaintiffs’ movement, and (c)
14   denied Plaintiffs the right to speak to an attorney.             (Id. at ¶¶
15   36.)
16           Two types of claims relate directly to the search:          (1) the
17   use of excessive force by FTB agents in executing the search
18   warrant; and (2) the agents’ refusal to grant Plaintiffs access
19   to counsel during an interrogation.
20                      a.     Inapplicability of Heck v. Humphrey.
21           As a threshold matter, these claims raise an issue not
22   addressed by either party.        Federal courts will not entertain
23   claims seeking money damages under section 1983 if doing so will
24   require the court to rule on issues in dispute in a state court
25   criminal proceeding.        See Heck v. Humphrey, 512 U.S. 477 (1994).
26   Under the Supreme Court’s holding in Heck, a section 1983 action
27   “that would call into question the lawfulness of a plaintiff’s
28   conviction or confinement is not cognizable, and does not,

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 1   therefore, accrue until and unless the plaintiff can prove that
 2   his conviction or sentence has been reversed on direct appeal.”
 3   Harvey v. Waldron, 210 F.3d 1008, 1014-16 (9th Cir. 2000) (citing
 4   Heck, 512 at 486-87).    The Ninth Circuit suggested in Harvey that
 5   Heck rule applies to pending as well as outstanding convictions,
 6   id. at 1014, but this application of Heck has been explicitly
 7   overruled by the Supreme Court in Wallace v. Kato, 127 S. Ct.
 8   1091, 1097-98 (2007), which held that Heck only bars 1983 claims
 9   that would impugn criminal convictions that have actually been
10   obtained and are outstanding.2     Nevertheless, the Wallace court
11   noted that a district court may be empowered to stay the civil
12   action until the criminal proceedings have completed under other
13   doctrines, id. at 1098, an issue discussed elsewhere in this
14   decision.
15        .
16                   b.    California Government Code § 945.3.
17        Plaintiffs suggest that the statute of limitations for the
18   search-related claims should be tolled under section 945.3 of the
19   California Government Code, which prohibits the filing of a civil
20
          2
21             If Kaschak had already been convicted, Heck would apply
     and might bar his claims for denial of access to counsel.
22   Although no published opinions addressing the applicability of
     Heck to claims of denial of access to counsel have been located,
23   the logic of Heck extends to such claims, because evidence
24   obtained during an interrogation conducted in the absence of
     requested counsel might impugn the integrity of the criminal
25   investigation. See Batchelor v. Village of Evergreen Park, 2004
     WL 2057262, *4 (N.D. Ill. 2004). In contrast, ordinarily, Heck
26   would not bar a court from hearing a claim for excessive force
27   because such claims do not ordinarily impugn the underlying
     conviction. Smithart v. Towery, 79 F.3d 951, 952-53 (9th Cir.
28   1996).

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 1   action for damages against a peace officer or the public entity
 2   employing that peace officer while related criminal charges are
 3   pending against the potential plaintiff:
 4             No person charged by indictment, information,
               complaint, or other accusatory pleading charging a
 5             criminal offense may bring a civil action for money or
               damages against a peace officer or the public entity
 6             employing a peace officer based upon conduct of the
               peace officer relating to the offense for which the
 7             accused is charged, including an act or omission in
               investigating or reporting the offense or arresting or
 8             detaining the accused, while the charges against the
               accused are pending before a superior court.
 9
     Cal. Gov. Code § 945.3.    The section also tolls the statute of
10
     limitations for filing and prosecuting any such civil claim
11
     “during the period that the charges are pending before a superior
12
     court.”   Id.
13
          The Ninth Circuit refused to allow section 945.3 to bar a
14
     potential plaintiff from bringing a section 1983 claim against a
15
     peace officer while criminal actions are pending, but held that
16
     the section’s tolling provision “still appl[ies] to toll the
17
     limitations period while criminal actions are pending against the
18
     potential plaintiff.”     Harding v. Galceran, 889 F.2d 906, 907-08
19
     (9th Cir. 1989).
20
          Section 945.3 does not apply to the claims brought by Rivas,
21
     as she is not the subject of criminal charges pending before a
22
     superior court.    Her claims are not tolled by § 945.3.
23
          Defendants do not respond directly to Plaintiffs’ assertion
24
     that California Government Code section 945.3 tolls Kaschak’s
25
     federal claims against any Defendants who are peace officers and
26
     the agencies for whom they work.        Defendant Railsback, as special
27
     agent of the FTB, is a peace officer under California law, Cal.
28

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 1   Penal Code § 830.37(s).    Pursuant to section 945.3’s tolling
 2   provision, the statute of limitations is tolled for Kaschak’s
 3   section 1983 claims against Railsback and the FTB while his
 4   criminal case is pending before the superior court.
 5        Defendants point out, however, that Plaintiffs fail to
 6   allege a factual basis for tolling any claims against Defendant
 7   Chiang, who is the California State Controller and Chairman of
 8   the FTB, under section 945.3.3
 9
10                     c.   Continuing Violation Theory.
11        Plaintiffs argue that the statute of limitations for the
12   search-related claims against Chiang should be tolled pursuant to
13   a “continuing violation” theory:
14             In the case at bar, such an extension is warranted
               where the surreptitious investigation from which the
15             search arose was ongoing for over 4 years without
               Plaintiffs’ knowledge, and despite the fact that
16             Defendants conducted a search on February 23, 2006, the
               investigation did not conclude until Kaschak was
17             arrested on January 9, 2007. Certainly, where the
               search was part and parcel to Defendants’ investigation
18             and Defendants’ investigation continued until January
               9, 2007 concluding with Kaschak’s arrest, the search,
19             arrest and investigation are sufficiently (if not
               wholly) related to justify an extension of the
20             limitations period. Further, Plaintiffs, despite their
               requests, were refused information from the Defendants
21             regarding the subject or nature of the February 23,
               2006 search until Kaschak’s arrest on January 9, 2007.
22             For each of these reasons, this Court should extend the
               limitations period, if even if should be an issue.
23
     (Doc. 17 at 5.)    Essentially, Plaintiffs argue that because the
24
25
          3
                Defendants also point out that the necessary
26   implication of section 945.3 is that all of the state law claims
27   against Railsback and the FTB must be stayed. Those claims must
     be dismissed on other grounds, so the entry of a stay is not
28   necessary.

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 1   investigation was ongoing through January 9, 2007, the statute of
 2   limitations for claims arising out of any aspect of the
 3   investigation, including the search, should be tolled until at
 4   least January 9, 2007, when Plaintiffs became aware of the nature
 5   of the investigation.
 6        The U.S. Supreme Court substantially limited the
 7   applicability of the continuing violation doctrine in National
 8   Railroad Passenger Corp. v. Morgan, 536 U.S. 101 (2002), holding
 9   that “discrete ... acts are not actionable if time barred, even
10   when they are related to acts alleged in timely filed charges.”
11   Id. at 122.   Instead “[e]ach discrete ... act starts a new clock
12   for filing charges alleging that act.”       Id.4   Although Morgan
13   concerned a Title VII employment discrimination claim, the Ninth
14   Circuit applies Morgan’s discrete act rule to section 1983
15   claims.   See Carpinteria Valley Farms, Ltd. v. County of Santa
16   Barbara, 344 F.3d 822, 829 (9th Cir. 2003).
17        Morgan counsels against application of the continuing
18   violation doctrine in this case, because the search (which gave
19   rise to the excessive force and denial of counsel claims)
20   constituted a discrete act.     Moreover, Plaintiffs were aware of
21   the nature of the search and the fact that they were denied
22   counsel on February 23, 2006.     This awareness did not depend on
23   their knowledge of the underlying investigation nor upon the
24   future arrest of Kaschak.     There is no series of acts that could
25
26        4
               The Morgan Court created an exception for claims based
27   on a hostile work environment, emphasizing that such claims, by
     their very nature, involve repeated conduct. Id. at 127. But no
28   such claim is alleged here.

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 1   possibly constitute a continuing violation.        Plaintiffs offer no
 2   basis for applying the continuing violation theory to their
 3   search-related claims.    As Plaintiffs offer no other basis for
 4   tolling the statute of limitations for the search-related claims
 5   against Chiang, these claim against him must be dismissed as
 6   time-barred.
 7
 8                    d.   Conclusion Re: Statute of Limitations.
 9        The Heck line of cases does not bar hearing Plaintiffs’
10   claims at this time, as the criminal charges are ongoing.
11        Neither section 945.3 nor the continuing violation theory
12   toll Rivas’ search-related claims, which accrued on February 23,
13   2006, more than two years before the filing of the complaint on
14   July 7, 2008.    Rivas brings no other federal claims.
15        Section 945.3 tolls the statute of limitations as to the
16   search-related claims against Railsback and the FTB, but does not
17   apply to the search-related claims against Chiang, who is not a
18   peace officer.    The continuing violation doctrine does not apply
19   to the search-related claims against Chiang, which accrued on
20   February 23, 2006.
21        Defendants’ motion to dismiss Plaintiffs claims arising out
22   of the February 23, 2006 search is GRANTED as to all of Rivas’
23   federal claims, and all of Kaschak’s federal search-related
24   claims against Chiang, but is DENIED as to Kaschak’s federal
25   search-related claims against Railsback and the FTB.
26
27
28

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 1             2.      First Cause of Action for Violation of Fourteenth
                       Amendment Rights.
 2
          The First Cause of Action contains a somewhat confusing
 3
     mixture of allegations, focusing on the Fourteenth Amendment
 4
     right to due process.    (Compl. at ¶¶ 24-30.)      Substantively, the
 5
     the First Cause of Action alleges:
 6
               27) Defendants’ conspired, each of them and amongst
 7             themselves, to write false complaints and to misinform
               prosecutors of the basis for charges against Plaintiff
 8             Thomas. In so doing, Defendants instituted criminal
               proceedings against Plaintiff Thomas without a lawful
 9             basis, in violation of Thomas’ due process rights.
10             28) Defendants conspired, each of them and amongst
               themselves, to create circumstances to construct allege
11             criminal conduct in furtherance of its goal to
               prosecute Thomas, all in violation of Thomas’ due
12             process rights and the CAFTB’s own Franchise Tax Board
               Collection Procedures Manual, wherein Defendant’s [sic]
13             did not provide Thomas with the required notices and/or
               statements of tax deficiency, as alleged herein.
14
               29) Defendants conspired, each of them and amongst
15             themselves, to deny Thomas and Michelle their right to
               counsel during their interrogation on February 23,
16             2006, despite Plaintiffs’ repeated requests for same.
17   (Emphasis added.)
18        Defendants argue that the Due Process Clause of the
19   Fourteenth Amendment does not provide a substantive right to be
20   free from criminal prosecution except upon probable cause.
21   Albright v. Oliver, 510 U.S. 266 (1994).       In Albright, a college
22   student was arrested for selling what was thought to be cocaine,
23   but was actually baking soda.        Id. at 268.   The charges were
24   later dropped because selling baking soda did not constitute an
25   offense under state law.     Id.     The student sued the detective
26   whose testimony before the grand jury resulted in his arrest,
27   claiming that the detective violated his Fourteenth Amendment due
28   process rights.     Id. at 268-69.    The Supreme Court affirmed the

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 1   dismissal of the complaint, reasoning that it was the Fourth, not
 2   the Fourteenth Amendment that provided a basis for Plaintiffs’
 3   claim.   Id. at 271, 275.
 4        The Albright Court specifically noted that plaintiff limited
 5   his claim to denial of substantive due process under the
 6   Fourteenth Amendment, and did not allege violations either of his
 7   procedural due process or Fourth Amendment rights.         Id. at 271.
 8   Because substantive due process rights have “for the most part
 9   been accorded to matters relating to marriage, family,
10   procreation, and the right to bodily integrity,” plaintiffs’
11   claim to be free from prosecution except on the basis of probable
12   cause did not fit within the substantive due process framework.
13   Id. at 271-72.   Although a number of the procedural protections
14   afforded by the Bill of Rights have been applied to the States by
15   way of the Fourteenth Amendment, “it is the Fourth Amendment, not
16   substantive due process” that protects plaintiff against pretrial
17   deprivations of liberty.    Id. at 273-74.     The Court expressed no
18   view as to whether plaintiffs situation would present a valid
19   Fourth Amendment claim because no such claim had been presented.
20        Plaintiffs’ First Cause of Action presents a similar
21   situation.   It makes no mention of the Fourth Amendment.
22   Plaintiffs argue that because the claims arise from the allegedly
23   “unlawful search and arrest, conducted without probable cause,”
24   the motion to dismiss should be denied because Defendants are on
25   notice of the nature of Plaintiffs’ claims.        Plaintiffs cite no
26   authority for this proposition, which conflicts Albright.
27        Defendants’ motion to dismiss the First Cause of Action is
28   GRANTED WITH LEAVE TO AMEND.

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 1               3.   Federal Claims Brought Against Chiang and
                      Railsback in Their Official Capacities.
 2
          The Complaint names Defendants Chiang and Railsback in both
 3
     their official and individual capacities.       The Eleventh Amendment
 4
     bars claims against a state or state entity unless that immunity
 5
     has been specifically abrogated by federal statute.         See, e.g.,
 6
     United States v. Georgia, 546 U.S. 151, 158-59 (Eleventh
 7
     Amendment bar abrogated by Title II of the Americans with
 8
     Disabilities Act).    A state is not a “person” against whom a
 9
     claim for money damages may be asserted under section 1983.5
10
     Will v. Mich. Dept. of State Police, 491 U.S. 58, 66 (1989).             The
11
     same rule applies to state entities and state officials acting in
12
     their official capacities.     See id.6   Plaintiffs do not suggest
13
14
          5
15            Section 1983 provides:

16               Every person who, under color of any statute,
                 ordinance, regulation, custom, or usage, of any State
17               or Territory or the District of Columbia, subjects, or
18               causes to be subjected, any citizen of the United
                 States or other person within the jurisdiction thereof
19               to the deprivation of any rights, privileges, or
                 immunities secured by the Constitution and laws, shall
20               be liable to the party injured in an action at law,
21               suit in equity, or other proper proceeding for redress.
                 For the purposes of this section, any Act of Congress
22               applicable exclusively to the District of Columbia
                 shall be considered to be a statute of the District of
23
                 Columbia.
24
      42 U.S.C. § 1983 (emphasis added).
25
          6
               “A state official [acting] in his or her official
26   capacity, when sued for injunctive relief, would be a person
27   under § 1983 because official-capacity actions for prospective
     relief are not treated as actions against the State.” Will, 491
28   U.S. at 71 n.10. But, Plaintiffs seek damages, not injunctive

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 1   otherwise.    It is equally well established that in this Circuit,
 2   a claim against a public official in his official capacity is
 3   redundant when brought alongside a claim against the entity.             See
 4   Ctr. for Bio-Ethical Reform, Inc. v. Los Angeles County Sheriff
 5   Dept., 533 F.3d 780, 799 (9th Cir. 2008).       Defendants’ motion to
 6   dismiss the federal claims against Chiang and Railsback in their
 7   official capacities is GRANTED.
 8
 9               4.     Federal Claims Brought Against Chiang in his
                        Individual Capacity.
10
          Plaintiffs also name Chiang as a defendant in his individual
11
     capacity.    There is no respondeat superior liability under
12
     section 1983.      Monnell v. Dept. of Social Serv., 436 U.S. 658,
13
     691 (1978).      To state a cause of action against a defendant in
14
     his individual capacity, Plaintiffs must allege that the
15
     defendants knew of or participated in activities connected to the
16
     alleged § 1983 violations.      Ortez v. Wash. County, 88 F.3d 804,
17
     809 (9th Cir. 1996).      A supervisor may be liable under section
18
     1983 if he or she “participated in or directed the violations, or
19
     knew of the violations and failed to act to prevent them.”
20
     Hydrick v. Hunter, 500 F.3d 978, 988 (9th Cir. 2007)(citing
21
     Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989)).
22
          Defendants argue that Plaintiffs claim should be dismissed
23
     because it “fails to allege any direct participation by Chiang in
24
     the allegedly wrongful acts, other than that FTB agents involved
25
     in the search were acting under his direction.”        (Doc. 13-2 at
26
27
28   relief here.

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 1   10.)    But, Plaintiffs correctly rejoin that an allegation that
 2   Chiang directed the agents’ actions is sufficient.           Specifically,
 3   Plaintiffs allege that unconstitutional actions were taken by
 4   Railsback and other agents “at the direction of [FTB’s]
 5   Chairman,” Chiang.     (Compl. at ¶22.)     Defendants point to no
 6   authority suggesting that this is insufficient to meet the
 7   liberal pleading requirements of Federal Rule of Civil Procedure
 8   8.   Defendants’ motion to dismiss any remaining individual-
 9   capacity claims against Chiang is DENIED.
10
11               5.    Non-Compliance with the California Tort Claim
                       Act’s Claim Presentation Requirement.
12
            The California Tort Claims Act (“CTCA”), Cal. Gov. Code §§
13
     900 et seq., establishes conditions precedent to the filing of a
14
     lawsuit against a public entity, including the requirement that a
15
     plaintiff timely file a claim for damages with the public entity
16
     defendant.    § 911.2.    Failure to comply with this requirement
17
     bars a plaintiff from bringing suit against that entity.            §
18
     945.4.    “[F]ailure to allege facts demonstrating or excusing
19
     compliance with the claim presentation requirement subjects a
20
     claim against a public entity to demurrer” in state court,
21
     California v. Superior Court (Bodde), 32 Cal. 4th 1234, 1239
22
     (2004), or dismissal pursuant to Federal Rule of Civil Procedure
23
     12(b)(6) in federal court, see, e.g., Hendon v. Ramsey, 528 F.
24
     Supp. 2d 1058, 1069-70 (S.D. Cal. 2007).         Plaintiffs do not
25
     suggest otherwise, nor does their complaint allege facts
26
27
28

                                          18
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 1   demonstrating or excusing compliance with the CTCA.7         Defendants’
 2   motion to dismiss the state tort claims is GRANTED WITH LEAVE TO
 3   AMEND.
 4
          B.   Alternative Request for a Stay.
 5
          Defendant alternatively requests that any claims that
 6
     survive the motion to dismiss should be stayed until the criminal
 7
     case against Kaschak has been resolved, citing Wallace, 127 S.
 8
     Ct. at 1098, which, after holding that Heck did not automatically
 9
     require dismissal of potentially impugning 1983 claims while
10
     criminal charges were pending, noted that other authorities
11
     existed for staying such claims pending completion of pending
12
     criminal proceedings.    Wallace cited footnote 8 of Heck, which
13
     reasoned “if a state criminal defendant brings a federal
14
     civil-rights lawsuit during the pendency of his criminal trial,
15
     appeal, or state habeas action, abstention may be an appropriate
16
     response to the parallel state-court proceedings,” citing
17
     Colorado River Water Conservation District v. United States, 424
18
     U.S. 800 (1976).   Wallace also referenced, Quackenbush v.
19
     Allstate Ins. Co., 517 U.S. 706, 716-717 (1996), which held:
20
21
22
          7
23             Plaintiffs do cite the appellate court opinion,
     California v. Superior Court (Bodde), 105 Cal. App. 4th 1008
24   (2003), which was overruled by the supreme court, 32 Cal. 4th
     1234. Plaintiffs acknowledge that this decision is no longer
25   good law in a footnote, but nevertheless cited the appellate
26   decision, and argue “that such reversal was inappropriate so as
     to preserve their right on appeal.” (Doc. 17 at 10 n.9.) This
27   is improper, as the Supreme Court decision is the only citeable
     case authority.
28
                                        19
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 1               We have [] held that federal courts have the power to
                 refrain from hearing cases that would interfere with a
 2               pending state criminal proceeding, see Younger v.
                 Harris, 401 U.S. 37 (1971)...
 3
     (parallel citations omitted)
 4
          A district court should abstain under Younger when: “(1)
 5
     there are ongoing state judicial proceedings; (2) the proceedings
 6
     implicate important state interests; and (3) the state
 7
     proceedings provide the plaintiff with an adequate opportunity to
 8
     raise federal claims.”     Meredith v. Oregon, 321 F.3d 807, 816-17
 9
     (9th Cir. 2003) (applying test set forth in Middlesex County
10
     Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432
11
     (1982)).    “Younger abstention is proper only when the federal
12
     relief sought would interfere in some manner in the state court
13
     litigation.”    Id.   The Ninth Circuit applies Younger abstention
14
     principles to claims for damages under section 1983.         Gilbertson
15
     v. Albright, 381 F.3d 965 (9th Cir. 2004).
16
          Here, there are ongoing state judicial proceedings, and the
17
     enforcement of criminal laws has been deemed an important state
18
     interest, see Younger, 401 U.S. 37.      Moreover, for some of
19
     Plaintiffs’ claims, the state criminal proceeding will offer
20
     Plaintiffs an opportunity to raise their federal constitutional
21
     claims.    For example, if evidence was gained through an unlawful
22
     search or through an interrogation where access to counsel was
23
     unlawfully denied, a state court may suppress the evidence.
24
     However, Kaschak’s excessive force claims present a different
25
     question.   They have no bearing on his state criminal proceeding.
26
     He has not been charged with resisting arrest or any related
27
     offense.    See Voychuk v. California, 2006 WL 738796, *2 (E.D.
28
     Cal. 2006).    Younger does not warrant a stay of those claims.


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 1   See Scheuerman v. City of Huntsville, 373 F. Supp. 2d 1251, 1257
 2   (N.D. Al. 2005) (declining to stay under Younger a 1983 excessive
 3   force claim brought against city and police officer who attempted
 4   murder suspect while affecting arrest).
 5         Younger supports the imposition of a stay of all but the
 6   excessive force claims.
 7
 8
 9                                 V.   CONCLUSION
10         For the reasons set forth above,
11         (1) Defendants’ Motion to Dismiss is
12               (a) GRANTED as to all of Rivas’ federal claims on
13   statute of limitations grounds.
14               (b) GRANTED as to all of Kaschak’s federal search-
15   related claims against Defendant Chiang on statute of limitations
16   grounds, but DENIED as to the federal search-related claims
17   against Railsback and the FTB.
18               (c) GRANTED as to the federal official-capacity claims
19   against Chiang and Railsback.
20               (d) DENIED as to the federal individual-capacity claims
21   against Chiang.
22               (e) GRANTED as to the state tort claims because
23   Plaintiffs failed to allege facts demonstrating or excusing
24   compliance with the CTCA claim presentation requirement.
25         (2) Defendants’ alternative motion for a stay is GRANTED as
26   to all but the excessive force claims.
27   //
28   //


                                          21
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 1        (3) Plaintiffs shall have 30 days from entry of this order
 2   to file an amended complaint consistent with this decision.
 3
 4   SO ORDERED
 5   DATED: December 23, 2008
 6
                                               /s/ Oliver W. Wanger
 7                                                Oliver W. Wanger
                                             United States District Judge
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